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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS
                          BOSTON DIVISION

____________________________________
DOROTHY UWAKWE;                      )
          Plaintiff.                 )
                                     )
v.                                   ) C.A. No. 17-cv-10558-FDS.
                                     )
                                     )
PELHAM ACADEMY;                      )
JUSTICE RESOURCE INSTITUTE, INC. )
          Defendants.                )
____________________________________)

        PLAINTIFF’S RESPONSE TO THE COURT’S ORDER OF
                    SEPTEMBER 1, 2017.

      In response to the Court’s Order of September 1, 2017, plaintiff

respectfully submits this memorandum of law and states that she is entitled

to summary judgment in this case as a matter of law. Plaintiff therefore

respectfully asks this court to enter summary judgment in her favor and

default defendants because it is undeniably clear that defendants have

committed fraud on this court. Plaintiff further refers this Court to her

Motion to Strike (Doc. 18) and the submissions therein. Defendants have

admitted committing fraud on this court and they have not contested any of

the submissions contained in the plaintiff’s Motion to Strike. Plaintiff hereby

incorporates the said motion (Doc. 18) herein, relies on it and makes it part

of his submissions herein.

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       In further support of her position and request for summary judgment,

plaintiff states that:

1.     PLAINTIFF IS ENTITLED TO SUMMARY JUDGMENT
       AGAINST DEFENDANTS.

       Summary judgment is appropriate when “the movant shows that there

is no genuine dispute as to any material fact and that the movant is entitled

to judgment as a matter of law.” Fed.R.Civ.P. 56(a). Rodgers v. Fair, 902

F.2d 140, 143 (1st Cir. 1990). The nonmoving party “must adduce specific,

provable facts demonstrating that there is a triable issue.” Id., quoting

Brennan v. Hendrigan, 888 F.2d 189, 191 (1st Cir. 1989). “[T]he mere

existence of some alleged factual dispute between the parties will not defeat

an otherwise properly supported motion for summary judgment; the

requirement is that there be no genuine issue of material fact.” Anderson v.

Lobby, Inc., 477 U.S. 242, 247-248 (1986) (emphasis original).

       Plaintiff respectfully submits that she is entitled to summary judgment

as a matter of law in this case; and defendants’ unsupported and speculative

statements of belief are insufficient to survive a motion for summary

judgment in plaintiff’s favor. Shapiro Equip. Corp. v. Morris & Son Constr.

Corp., 369 Mass. 968, 341 N.E.2d 668 (1976).

       In the present case, the main contention is whether plaintiff filed the

civil action within the 90 days of her receipt of the right-to-sue notice/letter

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from the EEOC. Plaintiff categorically states that she received the Notice of

Right to Sue from the EEOC on January 3, 2017 through an email sent to

her Attorney by the EEOC. Thereafter, plaintiff filed this civil action within

the 90 days of the date of receipt, as mandated by 42 U.S.C. Section 2000e-

5(f)(1). However, defendants have conclusorily continued to speculate and

argue that they received the Notice about June 17, 2016 and that plaintiff

must have or ought to have received it at the same time. This speculative

argument by the defendants is meritless and cannot survive plaintiff’s

request and motion for summary judgment, because in summary judgment,

the non-moving party, as the defendants in this case, “cannot create a

genuine issue of material fact through mere speculation or the building of

one inference upon another.” Beale v. Hardy, 769 F.2d 213, 214 (4th Cir.

1986). The “mere existence of some alleged factual dispute between the

parties will not defeat an otherwise properly supported motion for summary

judgment.” Anderson, 477 U.S. at 247-48. This court is therefore requested

to enter summary judgment in plaintiff’s favor.

      Plaintiff further states that defendants’ unsupported statements of

belief is insufficient to survive a summary judgment motion. See Shapiro

Equip. Corp. v. Morris & Son Constr. Corp., 369 Mass. 968, 341 N.E.2d 668

(1976); Sereni v. Star Sportswear Mfg. Corp., 24 Mass.App.Ct. 428, 433,



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509 N.E.2d 1203 (1987). Plaintiff is therefore entitled to summary judgment.

      Furthermore, plaintiff respectfully states that Title VII provides that

claimants have ninety days to file a civil action after receipt of the Notice

from the EEOC. Nilsen v. City of Moss Point, Miss., 674 F.2d 379, 381 (5th

Cir. 1982) (citing 42 U.S.C. Section 2000e-5(f)(1)(1994)). Title VII does not

start to count the 90 days from the time of the defendants’ alleged or

speculated receipt of the Notice. Bunch v. Bullard, 795 F.2d 384, 387-88 (5th

Cir. 1986) (holding that the ninety-day period within which a plaintiff has to

file a claim against an employer begins to run, not when the right-to-sue

letter is issued by the EEOC, but when the plaintiff received the letter).

However, in the present case, defendants are reading the law upside down.

This court should therefore grant summary judgment to plaintiff and

disregard defendants’ speculations and baseless suppositions.

      Plaintiff further states that the 90-day period does not start

running until the claimant (or her agent) actually receives the right-to-

sue letter from the EEOC. See, e.g. Prince v. Stewart, 580 F.3d 571, 574

(7th Cir. 2009) (explaining that the limitations period begins to run “when the

claimant receives the letter, not when it was sent”); Threadgill v. Moore,

U.S.A., Inc., 269 F.3d 848, 849-50 (7th Cir. 2001) (noting that the actual

receipt of right-to-sue notice by claimant or her attorney starts 90-day



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period. See also Kerr v. McDonald’s Corp., 427 F.3d 947, 952 (11th Cir.

2005) (90 days runs from date of receipt of notice); Taylor v. Books A

Million, Inc., 296 F.3d 376, 379 (5th Cir. 2002 (same). In this case, plaintiff

received the right-to-sue letter on January 3, 2017 and file this civil action

within 90 days on April 1, 2017. Defendants have not reasonably

controverted this fact. Additionally, defendants ought to have obtained

affidavit(s) from the EEOC if they are genuinely in doubt as to when

plaintiff received the notice-of-right to sue letter from the EEOC. But

defendants have failed to do so, and instead, they have baselessly continued

to speculate. This court is therefore requested to grant summary judgment to

plaintiff in the interest of justice.


2.     DEFENDANTS COMMITTED FRAUD ON THE COURT AND
       SHOULD THEREFORE BE DEFAULTED. SUMMARY
       JUDGMENT SHOULD ENTER IN FAVOR OF PLAINTIFF.

       In defendants’ Reply to Plaintiff’s Opposition to Defendants’ Motion

to Dismiss, defendant deliberately committed fraud on this court and

knowingly and deceptively misrepresented facts to mislead this court and to

derail the course of justice. As a result of defendants’ conduct, plaintiff

filed a motion to strike defendants’ Reply and specifically pointed out the

several frauds committed on this court by the defendants. Defendants, by

their conduct, have admitted committing fraud on this court, and till date,

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defendants have neither responded to plaintiff’s motion nor contradicted any

of the allegations of frauds against them because they acted with deliberation

to deceive this court. Plaintiff therefore requests this court to default

defendants and award him summary judgment because defendants’ have by

their frauds on this court, set in motion some unconscionable schemes to

deceive this court and interfere with the administration of justice.

      "A `fraud on the court' occurs where it can be demonstrated, clearly

and convincingly, that a party has sentiently set in motion some

unconscionable scheme calculated to interfere with the judicial system's

ability impartially to adjudicate a matter by improperly influencing the trier

or unfairly hampering the presentation of the opposing party's claim or

defense." Rockdale Mgmt. Co. v. Shawmut Bank, N.A., 418 Mass. at 598,

quoting from Aoude v. Mobil Oil Corp., 892 F.2d 1115, 1118 (1st Cir.

1989).

      When faced with a finding of fraud on the court, "[t]he judge has

broad discretion to fashion a judicial response warranted by the fraudulent

conduct." Rockdale Mgmt. Co. v. Shawmut Bank, N.A., 418 Mass. at 598.

The judge should seek "to secure the full and effective administration of

justice." O'Coin's, Inc. v. Treasurer of the County of Worcester, 362 Mass. at

514. Judges may exercise their inherent powers to fashion remedies that not

only realistically protect the integrity of the pending litigation, but that also


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"send an appropriate message to those who would so abuse the courts of the

Commonwealth." Munshani v. Signal Lake Venture Fund II, LP, 60 Mass.

App. Ct. at 721. When courts invoke their inherent authority to fashion

remedies to respond to fraud on the court, "lack of statutory authorization . .

. is immaterial." Brach v. Chief Justice of the Dist. Ct. Dept., 386 Mass. 528,

535 (1982).

      It is well established that, upon a finding of fraud on the court,

judges may enter default judgments, dismiss claims, or dismiss entire

actions. See Rockdale Mgmt. Co. v. Shawmut Bank, N.A., 418 Mass. at

598-599; Munshani v. Signal Lake Venture Fund II, LP, 60 Mass. App. Ct.

at 721. In cases where an attorney has committed fraud on the court, judges

have used their inherent authority to suspend or disbar the attorney. See

Matter of Neitlich, 413 Mass. at 423-425; Matter of Otis, 438 Mass. 1016 ,

1017 (2003). Common to these cases is the notion that judges have the

authority to fashion remedies that will protect the integrity of the courts, and

that will discourage the public from attempting to use the courts to

perpetuate fraudulent schemes. See Munshani v. Signal Lake Venture Fund

II, LP, supra. Plaintiff respectfully states that since it is doubtlessly obvious

that defendants committed fraud on this court by filing a Reply inundated

with deliberate lies and fraudulent misrepresentations, plaintiff asks this

court to default defendants and enter summary judgment for her. Since



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defendants willfully committed fraud on this court to derail the course of

justice, this court should act to protect its integrity and the administration of

justice.

3.     NOTWITHSTANDING DEFENDANTS’
       MISREPRESENTATIONS IN THEIR REPLY (DOC. 17),
       DEFENDANTS ARE STILL REMORSELESSLY
       COMMITTING FURTHER FRAUDS ON THIS COURT.

       Defendants’ are still committing fraud on this court and testing the

authority of this Court to protect the integrity of the administration of justice

in this case. On page 3 of the defendants’ present filing (Doc. 21), they have

further misrepresented that plaintiff did not respond to the EEOC’s email of

January 3, 2017. Contrary to defendants’ deceptive submission, please see

Exhibit A hereto and addressed as “Dear Mr. Pino.” In that email, plaintiff’s

counsel categorically informed Mr. Pino that he was receiving the Notice on

January 3, 2017. Plaintiff therefore respectfully asks the court to default

defendants and grant her summary judgment in this case. Defendant will

never get tired of trying to deceive this court until this court severely

sanctions them, defaults them and makes an entry of summary judgment in

plaintiff’s favor. See also Exhibit B, plaintiff’s email requesting for the

right-to-sue letter from the EEOC. Plaintiff further states that the email

received from EEOC on January 3, 2017 contained only one right-sue-

notice, although the said single Notice contained the two EEOC Charge

Numbers for the two defendants. Please see Exhibit C. Notwithstanding


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this, defendants have continued to misrepresent facts and embellish the truth

and commit fraud on this court.

                            CONCLUSION.

      Based on the submissions herein and on the submissions made in the

documents filed in opposition to defendants’ motion to dismiss and

plaintiff’s motion to strike, plaintiff respectfully requests this Court to grant

her summary judgment and default defendants in this case. Defendants

should never be compensated for their frauds on this Court. Defendant’s

motion to dismiss should therefore be denied in the interest of justice.

                                         Respectfully by the Plaintiff,
                                         Through Counsel,

                                         /s/ Benneth O. Amadi
                                         Benneth O. Amadi, Esquire
                                         BBO# 646232
                                         204 Blossom St. Extension, Suite A
                                         Lynn, MA 01901
                                         781-581-5144
                                         bamadilaw@verizon.net
September 19, 2017.

                          CERTIFICATE OF SERVICE
       I hereby certify that this document was on September 19, 2017,
filed through the ECF system and electronically served on all the
registered participants as identified in the Notice of Electronic Filing
(NEF), and paper copies sent to identified non-registered participants.

                                         /s/ Benneth O. Amadi
                                         Benneth O. Amadi, Esquire.




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